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Fill in this information to identify your case: FILED VIA MAIL
JACKSONVILLE, FLORIDA
pebtor1 Creditor: Frank __ E. Polo Sr.
First Name Middie Name Last Name MAY 1 8 2018
Debtor 2
(Spouse, if filing) First Name Middle Name Last Name
- CLERK, U.S, BANKRUPTCY COURT
United States Bankruptcy Court for the: Middle District of Florida MIDDLE DISTRICT OF FLORIDA
Case umber '16-bk- = LJ Check if this is an

 

amended filing

Official Form 103B
Application to Have the Chapter 7 Filing Fee Waived 1215

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct

information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number

(if known).

Tell the Court About Your Family and Your Family’s Income

. What is the size of your family?

Your family includes you, your
spouse, and any dependents listed
on Schedule J: Your Expenses
(Official Form 106J).

. Fill in your family’s average

Check ail that apply:

(v1 You
[vl Your spouse

Your dependents 2/50% of time 4

How many dependents? Total number of people

 

line 10 of that schedule.

Subtottl............ g___—_—04.00
Subtract any non-cash governmental assistance that you — 5 504.00
included above. ___ 504.00
Your family’s average monthly net income Total... gs ___——i0.0O

3. Do you receive non-cash [Ino
governmental assistance? [LY] ves Describe

monthly income. ‘That person's average
thly income monthly net income

Include your spouse’s income if (take-home pay)

your spouse is living with you, even = Add your income and your spouse’s income. Include the

if your spouse is not filing. value (if known) of any non-cash governmental assistance yoy $ 504.00
. ' that you receive, such as food stamps (benefits underthe = = oo

Do not include your spouse's Supplemental Nutrition Assistance Program) or housing

income if you are separated and subsidies.

your spouse is not filing with you. If you have already filled out Schedule |: Your income, see Your spouse... + $ 0.00

 

 

 

 

 

Food

 

 

4. Do you expect your family’s [j No
average monthly net income to :
incr or decrease by more than [Ylves. Explain. ............
10% during the next 6 months?

5. Tell the court why you are unable to pay the filing fee in
installments within 120 days. If you have some additional
circumstances that cause you to not be able to pay your filing
fee in instaitments, explain them.

Official Form 103B

 

Expecting to obtain temporary Part-Time Employment at
school.

 

 

 

My total expenses, including food, are approximately 2,658.00
and | have to request student loans to be able to pay those
expenses (2,158.00 per month) and the rest is Sup Food help.

 

 

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Debtor 14

Lreaitor: Frank ©. rolo or.

 

First Name Middle Name

Last Name

Tell the Court About Your Monthly Expenses

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Case number (rinomm Bankr. 3:16-bk-3913-JAF

 

6. Estimate your average monthly expenses.

Include amounts paid by any government assistance that you

reported on line 2.

$

If you have already filled out Schedule J, Your Expenses, copy

line 22 from that form.

 

7. Do these expenses cover anyone
who is not included in your family
as reported in line 17

No
Yes. Identify who

 

 

 

 

8. Does anyone other than you
reguiarly pay any of these
expenses?

If you have already filled out
Schedule I: Your income, copy the
total from line 11.

9. Do you expect your average
monthly expenses to increase or
decrease by more than 10% during
the next 6 months?

[YINo

[_]ves. How much do you regularly receive as contributions? $.

[Y]No

[_Jyes. Explain

Tell the Court About Your Property

If you have already filled out Schedule A/B: Property (Official Form 106A/B) attach copies to this application and go to Part 4.

10. How much cash do you have?
Examples: Money you have in
your wailet, in your home, and on
hand when you file this application

Cash:

monthly

 

 

 

$

 

11. Bank accounts and other deposits

 

 

 

 

 

 

 

 

 

 

 

Institution name: Amount:
of money? ‘ceeeaRraneRenresanemesacnEeEe aenaseinananainanaiee
Examples: Checking, savings, Checking account: TD Bank $ 122.47
money market, or other financial
accounts; certificates of deposit; Savings account: $,
shares in banks, credit unions,
brokerage houses, and other Other financial accounts: $.
similar institutions. If you have
more than one account with the . $
same institution, list each. Do not Other financial accounts:
include 401(k) and IRA accounts.

12. Your home? (if you own it outright or N/A
are purchasing it) Number Street Current value: $
Examples: House, condominium, Amount you owe
manufactured home, or mobile home City State onmortgage and = S.
liens:
13. Other real estate? N/A Current value: $
Number Street
Amount you owe
- on mortgage and = §
City State liens:
14. The vehicles you own? Make: Ford

Examples: Cars, vans, trucks,
sports utility vehicles, motorcycles,
tractors, boats

Modet! _Expedition
Yer: 2006

Mileage 128,000

Make:
Model:
Year:
Mileage

Current value:

Amount you owe
on liens:

Current value:

Amount you owe
on liens:

$ 4,000.00

$ 0.00

 

Official Form 103B

Application to Have the Chapter 7 Filing Fee Waived

page 2

 

 
 

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Debtor 1

Creditor. Frank ©. Foro oF.

 

First Name Middie Name

Last Name

Case number (i known)

 

15. Other assets?

Do not include household items
and clothing.

Describe the other assets:

Current value: $.

 

 

 

on liens:

 

Amount you owe §

 

16. Money or property due you?

Examples: Tax refunds, past due
or lump sum alimony, spousal
support, child support,
maintenance, divorce or property
settlements, Social Security
benefits, workers’ compensation,
personal injury recovery

Who owes you the money or property?

 

Ca Answer These Additional Questions

17. Have you paid anyone for
services for this case, including
filling out this application, the

bankruptcy filing package, or the

schedules?

[YI] No

How much is owed? Do you believe you will likely receive

[_ ]yes. Whom did you pay? Check aif that apply:

[jan attorney

[Ja bankruptcy petition preparer, paralegal, or typing service

[J Someone else

 

payment in the next 180 days?

[Ino

L Ives. Explain:

 

 

 

 

How much did you pay?

 

18. Have you promised to pay or do
you expect to pay someone for
services for your bankruptcy
case?

No
4 Yes. Whom do you expect to pay? Check ail that apply:

[Jan attorney

[Ja bankruptcy petition preparer, paralegal, or typing service

[__Jsomeone else

How much do you
expect to pay?

 

 

19. Has anyone paid someone on
your behaif for services for this

No
Ge Who was paid on your behalf?

 

 

 

case? Who paid? How much did
Check all that apply: Check all that apply: someone else pay?
[Jan attorney Parent $
[Ja bankruptcy petition preparer, Brother or sister
paralegal, or typing service Friend
[__]someone else Pastor or clergy
Someone else
20. Have you filed for bankruptcy [v1 No
within the last 8 years? CJ Yes. District When Case number
MM/ DD/ YYYY
District When Case number
MM/ DD/ YYYY
District When Case number
MM/ DD/ YYYY

 

By signing here under penalty of perjury, | declare that | cannot afford to pay the filing fee either in full or in instaliments. | also declare

that the informati

 
 

G

provided In this application is true and correct.

x

 

Sighature of Debtor 1

vate 0S [fE/ 0/F

MM DDS YYYY

Official Form 103B

Signature of Debtor 2

Date
MM / DD /YYYY

Application to Have the Chapter 7 Filing Fee Waived

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Fill in this information to identify the case:

Debtor 1 Creditor: Frank E. Polo Sr.

First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: Middle District of Florida

Case number : -DK- =
(If known)

 

 

Order on the Application to Have the Chapter 7 Filing Fee Waived

 

After considering the debtor's Application to Have the Chapter 7 Filing Fee Waived (Official Form 1038), the court
orders that the application is:

[ ] Granted. However, the court may order the debtor to pay the fee in the future if developments in
administering the bankruptcy case show that the waiver was unwarranted.

[ ] Denied. The debtor must pay the filing fee according to the following terms:

 

You must pay... On or before this date...
$ Month / day / year
$ —_
Month / day / year
$ —_——
Month / day / year
+ $
. Month / day / year

 

Total

If the debtor would like to propose a different payment timetable, the debtor must file a
motion promptly with a payment proposal. The debtor may use Application for Individuals to
Pay the Filing Fee in Installments (Official Form 103A) for this purpose. The court will
consider it.

The debtor must pay the entire filing fee before making any more payments or transferring any
more property to an attorney, bankruptcy petition preparer, or anyone else in connection with the
bankruptcy case. The debtor must also pay the entire filing fee to receive a discharge. If the
debtor does not make any payment when it is due, the bankruptcy case may be dismissed and
the debtor's rights in future bankruptcy cases may be affected.

[ ] Scheduled for hearing.
A hearing to consider the debtor’s application will be held

on at AM/ PM at

 

Month / day / year Address of courthouse
If the debtor does not appear at this hearing, the court may deny the application.

By the court:
Month / day / year United States Bankruptcy Judge

 
